               2:18-cv-00152-DCN                                    Exhibit 1 Entry Number 52-2
                                                     Date Filed 08/27/18                                           Page 1 of 7
  DRUANNE D. \VHlTE
druannc([t wdwlawfirm.com
                                                                       WHITE DAVlS & WHlTE                            ASHLEA M. \VHlTE
                                                                                                                    ashlca@wdwlawtirm.com
                                                                                   LAW FIRM
                                                                                                                       K LE J. \\"HlTE
                                                                                                                          Y
      JO\" C. DA\' LS
  joy(!t wdwlawfirm.com                                                                                             kvldg wdwlawfirm.com
                                          209 East Calhoun Street • PO Box LJ46 • Anderson, South Carolina 29622
      TRE\'OR \\'HLTE                                  Telephone (864) 231-8090 • Fa.x (864) 231-8006                 TRA\'IS \\". \\'HlTE
 trl.!vor0 wd\\'la,\·firn\ . ..:om                                www.wdwlawfirn1.com                               tr.t\"iS�� wdwlawtirm.�rnn




                                                                   August 20, 2018


                                     United States Postal Service Regular Mail and Electronic Mail

           Elloree A. Ganes
           Hood Law Firm, LLC
           Post Office Box 1508
           Charleston, SC 29402-1508
           elloree.ganes@hoodlaw.com

          James W. Clement
          Hood Law Firm, LLC
          Post Office Box 1508
          Charleston, SC 29402-1508
          jim.clement@hoodlaw.com

                         Re:         Wendy Iacobucci vs. Town of Bonneau, Bonneau Police Department and Franco
                                     Fuda,
                                     Civil Action No.: 2:18-CV-00152-DCN-BM

           Dear Elloree & Jim:

                 Enclosed please find the Second Amended Subpoena and Second Amended Notice to Take
          Video Deposition of Liz Wrenn, the Third Amended Subpoena and Third Amended Notice to Take
          Video Deposition of Rembert E. Wrenn, and the Amended Subpoena and Amended Notice to Take
          the Video Deposition of Brian Batterton, along with a Certificate of Service. The subpoenas will
          be served on the witnesses via certified mail. If you have any questions, please feel free to give
          me a call.

                                                                         Sincerely,




                                                                         Kyle J. White

          KJW/dm
          Enclosures
          cc: Samuel R. Clawson, Jr., Esq.
              Christy R. Fargnoli, Esq.
              2:18-cv-00152-DCN                   Date Filed 08/27/18                Entry Number 52-2                     Page 2 of 7
                                                STATE OF SOUTH CAROLINA
           ISSUED BY THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF SOUTH CAROLINA
                                        CHARLESTON DIVISION
 Wendy Iacobucci, Plaintiff,

                                   v.                                                 SUBPOENA IN A CIVIL CASE
 Town of Bonneau et al                                                           Case Number: 2: 18-CV-00152-DCN-BM

TO: Brian Batterton, 4640 Dallas Hwy, Powder Springs, GA 30127

D YOU ARE COMMANDED to appear in the above-named court at the place, and time specified below to testify in the
above case.
 PLACE OF TESTIMONY
                                              COURTROOM

                                                                       DATE AND TIME                                  AM

IZI YOU ARE COMMANDED to appear at the place, date, and time specified below to testify at the taking of a
deposition in the above case.
 PLACE OF DEPOSITION
                                                                       DATE AND TIME September 13, 2018, 11:00 AM
 Powder S rin s, GA 30127
 4640 Dallas Hwy

D YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects in
your possession, custody or control at the place, date and time specified below (list documents of objects):
 PLACE
                                                                      DATE AND TIME at AM




D YOU ARE COMMANDED to permit inspection of the following premises at the date and time specified below.
 PREMISES
                                                                    I DATE AND TIME                                  AM

 ANY SUBPOENAED ORGANIZATION NOT A PARTY TO THIS IS HEREBY DIRECTED TO RULE 30(b)(6). SOUTH CAROLINA RULES OF
 CIVIL PROCEDURE, TO FILE A DESIGNATION WITH THE COURT SPECIFYING ONE OR MORE OFFICERS. DIRECTORS, OR MANAGING
 AGENTS, OR OTHER PERSONS WHO CONSENT TO TESTIFY ON ITS BEHALF, SHALL SET FORTH, FOR EACH PERSON DESIGNATED, THE
 MATIERS ON WHICH HE WILL TESTIFY OR PRODUCE DOCUMENTS OR THINGS. THE PERSON SO DESIGNATED TESTIFY AS TO
 MATIERS KNOWN OR REASONABLY AVAILABLE TO THE ORGANIZATION

I CERTIFY THAT THE SUBPOENA IS ISSUED IN COMPLIANCE WITH RULE 4S(c)(l ), AND THAT NOTICE AS REQUIRED BY RULE 45(b)(l ) HAS BEEN

           rvl-�ttt
GIVEN TO ALL PARTIES.
  ,VJvfL                                                           August 20. 2018          Kyle J. White, Esquire, Attorney for Plaintiff(s)

 Attorney/Issuing Officer's Signature                           Date                                                  Print Name
 Indicate if Attorney for Plaintiff or Defendant
 Attorney's Address and Telephone Number
 WHITE, DAVIS & WHITE LAW FIRM. PA., P.O. BOX 1346, ANDERSON. SC 29622; PHONE: (864) 231-8006


 Clerk of Court/Issuing Officer's Signature                               Date                                        Print Name
 Pro Se Litigant's Name, Address and Telephone Number:




SCCA 254 (05/2015)                                       (See Rule 45, South Carolina Rules of Civil Procedure, Parts (c) & (d) on pages 2 and 3)
  2:18-cv-00152-DCN                Date Filed 08/27/18     Entry Number 52-2      Page 3 of 7




                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA
                                   CHARLESTON DIVISON

 Wendy Iacobucci,                                  )
                                                   )               AMENDED
                      Plaintiff,                   )         NOTICE TO TAKE VIDEO
                                                   )     DEPOSITION OF BRIAN BATTERTON
                vs.                                )
                                                   )
 Town of Bonneau, Bonneau Police                   )                2:18-CV-00152-DCN-BM
 Department and Franco Fuda                        )

                                                   )
----------
    Defendants. )

TO:    ELLOREE A. GANES AND JAMES W. CLEMENT, ATTORNEYS FOR
       DEFENDANTS

       PLEASE TAKE NOTICE that the undersigned attorneys for the Plaintiff, Wendy

Iacobucci, will take, or a cause to be taken the deposition of the Brian Batterton upon oral

examination at the law offices of 4640 Dallas Highway, Powder Springs, GA, 30127 on Thursday,

September 13, 2018 beginning at 11:00 a.m.

       In accordance with Rule 30 of the South Carolina Rules of Civil Procedure, the deposition

will be taken before a notary public or some other person duly authorized by law to take

depositions and will be recorded stenographically and audio-visual (videographed).

       The deposition will continue from day to day until completed. You are hereby notified to

appear and take such part in the examination as you may be advised and shall be fit and proper.



                                         (signature on next page)
 2:18-cv-00152-DCN   Date Filed 08/27/18     Entry Number 52-2      Page 4 of 7




August 20, 2018                   Respectfully submitted,




                                  K#!ite, � 11774)
                                  White, Davis and White Law Firm
                                  209 East Calhoun Street
                                  Anderson, SC 29621
                                  (864) 231-8090
                                  (864) 231-8006 (Facsimile)
                                  kyle@wdwlawfirm.com

                                  Attorneys for the Plaintiff



                                  Samuel R. Clawson, Jr., Esquire
                                  Christy R. Fargnoli, Esquire
                                  Clawson & Fargnoli, LLC
                                  474 King Street, Ste. D.
                                  Charleston, SC 29403
                                  (843) 970-2700
                                  (843)970-1780 (Facsimile)
                                  sam@clawsonfargnoli.com
                                  christy@clawsonfargnoli.com

                                  Attorneys for the Plaintiff




                                     2
  2:18-cv-00152-DCN           Date Filed 08/27/18       Entry Number 52-2          Page 5 of 7




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION

                                              )
Wendy Iacobucci,                              )
                               Plaintiff,     )
                                              )
                                              )       CERTIFICATE OF SERVICE
                       Vs.                    )
                                              )         �: 18-CV-00152-DCN-BM
Town of Bonneau, Bonneau Police               )
Department and Franco Fuda,                   )
                                              )
                                              )
                              Defendants.     )

       The undersigned certifies that on the 20th day of August 2018, she served the Second

Amended Subpoena and Second Amended Notice to Take Video Deposition of Liz Wrenn, the

Third Amended Subpoena and Third Amended Notice to Take Video Deposition of Rembert E.

Wrenn, and the Amended Subpoena and Amended Notice to Take the Video Deposition of Brian

Batterton, along with a Certificate of Service via the United States Postal Service and Electronic

Mail as follows:

                                         Elloree A. Ganes
                                       Hood Law Firm, LLC
                                       Post Office Box I 508
                                    Charleston, SC 29402-1508
                                   elloree.ganes@hoodlaw.com

                                       James W. Clement
                                      Hood Law Firm, LLC
                                      Post Office Box 1508
                                   Charleston, SC 29402-1508
                                   jim.clement@hoodlaw.com
                2:18-cv-00152-DCN                    Date Filed 08/27/18                Entry Number 52-2         Page 6 of 7

  DRUAN:-:E D. \\'HITE                                                WHITE DAYlS & WHITE                             ASHLEA 1\1. \\"HITE
                                                                                                                   a-,ltll!a(!_r wdwla,\·firm.�om
dru,mnc(f.1 wdwlawfirn1.�0111                                                     LAW FIRM
      JO\ C. DA\"IS                                                                                                   KYLE J. \\"lllTE
                                                                                                                    kdc(<1 wd\\ l.twfirn1.�um
  joy(!_t wdwl.1wfirm.c,J1n
                                         209 East Calhoun Street • PO Box 1346 • Anderson, South Carolina 29622
                                                      Telephone (864) 231-8090 • Fax (864) 231-8006                  TRA\"IS\\". \\ I IITE
    TREVOR \\'HITE
                                                                 www.wdwlawfir1u.co1u                              tr.l\ i,(t, wdwht" tirm ...:om
 trcnlr(!' \\ d" la,, firm.i.:,.lm




                                                                    August 20, 2018


                                                                  Via Certified Mail

             Brian Batterton
             4640 Dallas Highway
             Powder Springs, GA 30127

                           Re:       Wendy Iacobucci vs. Town of Bonneau, Bonneau Police Department and Franco
                                     Fuda,
                                     Civil Action No.: 2:18-CV-00152-DCN-BM

            Dear Mr. Batterton:

                   Enclosed please find a subpoena requiring your attendance for a deposition that 1s
            scheduled for September 13, 2018 at 11:00 a.m.

                                                                         Sincerely,

                                                                                         I     ) 7 ,'' .--
                                                                                         / \ l1trt"
                                                                                         • V � / �


                                                                         Kyle J. White

            KJW/dm
            Enclosure
            cc: Samuel R. Clawson, Jr., Esq. (Via Electronic Mail Only)
                Christy R. Fargnoli, Esq. (Via Electronic Mail Only)
                Elloree A. Ganes, Esq. (Via Electronic Mail Only)
                James W. Clement, Esq. (Via Electronic Mail Only)
             2:18-cv-00152-DCN                     Date Filed 08/27/18                  Entry Number 52-2                   Page 7 of 7
                                                 STATE OF SOUTH CAROLINA
         ISSUED BY THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF SOUTH CAROLINA
                                      CHARLESTON DIVISION
 Wendy Iacobucci, Plaintiff,

                                   v.                                                    SUBPOENA IN A CIVIL CASE
 Town of Bonneau et al                                                            Case Number: 2:18-CV-00152-DCN-BM

TO: Brian Batterton, 4640 Dallas Hwy, Powder Springs, GA 30127
D YOU ARE COMMANDED to appear in the above-named court at the place, and time specified below to testify in the
above case.
 PLACE OF TESTIMONY
                                              COURTROOM

                                                                        DATE AND TIME                                  AM

� YOU ARE COMMANDED to appear at the place, date, and time specified below to testify at the taking of a
deposition in the above case.
 PLACE OF DEPOSITION
                                                                        DATE AND TIME September 13, 2018, 11:00 AM
 Powder S rin s, GA 30127
 4640 Dallas Hwy

D YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects in
your possession, custody or control at the place, date and time specified below (list documents of objects):
 PLACE
                                                                       DATE AND TIME at AM




D YOU ARE COMMANDED to permit inspection of the following premises at the date and time specified below.
 PREMISES
                                                                     I DATEANDTIME                                   AM

 ANY SUBPOENAED ORGANIZATION NOT A PARTY TO THIS IS HEREBY DIRECTED TO RULE 30(b)(6), SOUTH CAROLINA RULES OF
 CIVIL PROCEDURE, TO FILE A DESIGNATION WITH THE COURT SPECIFYING ONE OR MORE OFFICERS, DIRECTORS, OR MANAGING
 AGENTS, OR OTHER PERSONS WHO CONSENT TO TESTIFY ON ITS BEHALF, SHALL SET FORTH, FOR EACH PERSON DESIGNATED, THE
 MATTERS ON WHICH HE WILL TESTIFY OR PRODUCE DOCUMENTS OR THINGS. THE PERSON SO DESIGNATED TESTIFY AS TO
 MATTERS KNOWN OR REASONABLY AVAILABLE TO THE ORGANIZATION

I CERTIFY THAT THE SUBPOENA IS ISSUED IN COMPLIANCE WITH RULE 4S(c)(I), AND THAT NOTICE AS REQUIRED BY RULE 45(b)(I) HAS BEEN
GIVEN TO ALL PARTIES.
  \Oja rv'k�                                                        August 20, 20 I 8        Kyle J. White, Esquire, Attorney for Plaintiffts)

 Attorney/Issuing Officer's Signature                            Date                                                  Print Name
 Indicate if Attorney for Plaintiff or Defendant
 Attorney's Address and Telephone Number
 WHITE, DAVIS & WHITE LAW FIRM, PA., P.O. BOX 1346, ANDERSON, SC 29622; PHONE: (864) 231-8006


 Clerk of Court/Issuing Officer's Signature                                Date                                        Print Name
 Pro Se Litigant's Name, Address and Telephone Number :




SCCA 254 (05/2015)                                        (See Rule 45, South Carolina Rules of Civil Procedure, Parts (c) & (d) on pages 2 and 3)
